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                                          Certificate Number: 05781-VAE-DE-036225549
                                          Bankruptcy Case Number: 18-34464


                                                         05781-VAE-DE-036225549




              CERTIFICATE OF DEBTOR EDUCATION

 I CERTIFY that on December 27, 2021, at 3:49 o'clock PM PST, Evelyn Morgan
 completed a course on personal financial management given by internet by Sage
 Personal Finance, a provider approved pursuant to 11 U.S.C. 111 to provide an
 instructional course concerning personal financial management in the Eastern
 District of Virginia.




 Date:   December 27, 2021                By:      /s/Allison M Geving


                                          Name: Allison M Geving


                                          Title:   President
